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                             IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF ARKANSAS
                                        DELTA DIVISION

CALVIN L. MARSHALL                                                                    PLAINTIFF
ADC #090207

v.                                    Case No. 2:22-cv-00135-LPR-JTR

KELLY MCCAIN,
Nurse Practitioner, EARU, et al.                                                  DEFENDANTS

                                                     ORDER

           The Court has received a Partial Recommended Disposition (PRD) from United States

Magistrate Judge J. Thomas Ray and the Plaintiff’s Objections.1 After a de novo review of the

PRD and careful consideration of the objections and the entire record, the Court approves and

adopts the PRD in its entirety as the Court’s findings and conclusions in all respects.

           IT IS THEREFORE ORDERED THAT:

           1.      The following claims proceed:

                   (a)      Mr. Marshall’s Eighth Amendment deliberate indifference work assignment

                            claims against Defendants NP Bennett and Classification Officer

                            Westbrook;

                   (b)      Mr. Marshall’s Eighth Amendment deliberate indifference medical claims

                            against Defendants NP McCain, NP Bennett, Nurse Gollatt, Nurse Askew,

                            Nurse Washington, Nurse Dunn, Nurse Williams, Nurse Turner, and Doe

                            Defendants 1–9;

                   (c)      Mr. Marshall’s First Amendment retaliation claims against Defendants

                            Nurse Gollatt, Nurse Askew, Nurse Washington, Nurse Dunn, Nurse


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    Partial Recommended Disposition (Doc. 10); Pl.’s Objections (Doc. 11).

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                       Williams, Nurse Turner, and Doe Defendants 1–9; and

                (d)    Mr. Marshall’s corrective inaction claims against Defendants Captain Lane,

                       Deputy Warden Jackson, HSA Rechcigl, and Director Rory Griffin.

       2.       The following claims are DISMISSED without prejudice for failure to state a claim

upon which relief may be granted:

                (a)    Mr. Marshall’s due process loss-of-property claim against Defendant Nurse

                       Reniger;

                (b)    Mr. Marshall’s Eighth Amendment deliberate indifference claims against

                       Defendants Dr. Berney and Dr. Warmoth;

                (c)    Mr. Marshall’s Eighth Amendment deliberate indifference claims against

                       Defendants Sergeant Bell, Sergeant Troop, Sergeant Young, and Sergeant

                       King;

                (d)    Mr. Marshall’s ADA, Rehabilitation Act, and equal protection claims; and

                (e)    Mr. Marshall’s conspiracy and failure-to-protect state law claims.

       3.       The Clerk’s Office is directed to remove the names of Dr. Heridas, Assistant

Director Straughn, Deputy Warden Emsweller, Sergeant Woodard, and Officer Davis from the

docket sheet.

       4.       Nurse Reniger, Dr. Berney, Dr. Warmoth, Sergeant Bell, Sergeant Troop, Sergeant

Young, and Sergeant King are TERMINATED as parties to this action.

       IT IS SO ORDERED this 29th day of September 2023.


                                                     ________________________________
                                                     LEE P. RUDOFSKY
                                                     UNITED STATES DISTRICT JUDGE




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